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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              :
                                                      :
                                                      :
               v.                                     :       Case No. 21-CR-268 (CJN)
                                                      :
                                                      :
JEFFREY MCKELLOP,                                     :
                                                      :
                                                      :
                               Defendant.             :

     GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO REVOKE
           DETENTION ORDER AND FOR PRETRIAL RELEASE

       The defendant, Jeffrey McKellop, who is detained due to his dangerousness, seeks for the

third time to be released pending trial. Nothing has changed to reduce the danger he poses to law

enforcement, nor the legal basis for this Court’s earlier analysis of the 18 U.S.C. § 3142(g) factors.

Accordingly, the government respectfully requests the defendant’s Motion to Revoke Detention Order

and for Pretrial Release, ECF No. 36 (“Def.’s Mot.”) be denied.

                                         BACKGROUND

       The defendant, a former member of the United States Special Forces, weaponized his

extensive military training and experience to attack the U.S. Capitol and the officers sworn to

protect it during Constitutional proceedings on January 6, 2021. While wearing a gas mask and

other military-grade gear, the defendant repeatedly assaulted sworn officers defending the Capitol,

with the apparent intent to facilitate the breach of the Capitol by disabling the primary defense




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against the mob—riot-control spray. The defendant’s actions included stabbing an officer in the

face with the end of a flagpole.1

       The defendant was arrested on March 17, 2021, after being charged by Complaint with: (1)

Assaulting an Officer of the United States with a Deadly or Dangerous Weapon, in violation of 18

U.S.C. §§ 111(a)(1) and (b); (2) Civil Disorder, in violation of 18 U.S.C. § 231(a)(3); (3)

Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful

Authority with a Deadly or Dangerous Weapon, with a Deadly or Dangerous Weapon in violation

of 18 U.S.C. §§ 1752(a)(1), (b)(1)(A); (4) Disorderly and Disruptive Conduct in a Restricted

Building or Grounds, with a Deadly or Dangerous Weapon, in violation of 18 U.S.C.

§§ 1752(a)(2), (b)(1)(A); (5) Engaging in Physical Violence in a Restricted Building or Grounds,

with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. §§ 1752(a)(4), (b)(1)(A); and, (6)

Violent Entry and Disorderly Conduct on Capitol Grounds, in violation of 40 U.S.C.

§ 5104(e)(2)(F).

       At the defendant’s March 18, 2021, initial appearance, the United States requested

detention pursuant to 18 U.S.C. §§ 3142(f)(1)(A) and (E), on the ground that the defendant had

been charged with both a crime of violence and a felony involving a dangerous weapon.

Magistrate Judge Faruqui set a detention hearing for March 22, 2021, which continued into March

23, 2021. After reviewing the government’s memorandum in support and attached video exhibits,

the defendant’s memorandum in opposition, and hearing arguments, Magistrate Judge Faruqui




1
  The government hereby incorporates by reference its Memorandum in Support of Pre-Trial
Detention, docketed at ECF No. 16, and its Opposition to the Defendant’s Motion for Revocation
or Review of Pretrial Detention Order, ECF No. 18, as well as all accompanying exhibits.
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determined that no condition or combination of conditions would protect the community from the

defendant’s dangerousness. See Order of Detention Pending Trial, ECF No. 19.

       On March 29, 2021, the defendant requested review and revocation of that Order. ECF

No. 17. In its opposition, ECF No. 18, the government highlighted the defendant’s training and

experience and the chilling strategy apparent in the defendant’s conduct, which appeared to be to

disable or disarm law enforcement officers wielding riot-control spray.




The government also emphasized the egregious and callous nature of the defendant’s conduct,

which involved committing multiple violent acts against multiple officers, including stabbing an

officer in the face with a flagpole, then throwing the flagpole like a spear as the officer retreated.




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       On April 5, 2021, after a hearing, this Court denied the defendant’s March 29, 2021,

motion. In discussing the § 3142(g) factors, specifically “the nature and seriousness of the danger

to any person or the community that would be posed by the person’s release,” the Court found the

nature of the danger was that of future violence against and physical altercations involving law

enforcement, and that the danger was serious given the defendant’s increased capacity, combat

training and experience, and demonstrated disregard for the law.

       Meanwhile, on March 31, 2021, a grand jury had indicted the defendant on twelve counts,

including two counts of Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous

Weapon, in violation of 18 U.S.C. § 111(b)(1). ECF No. 20. Since then, significant discovery has

been provided, and on July 9, 2021, the government extended a plea offer by letter, which remains

pending the defendant’s consideration. Most recently, January 6-wide discovery has commenced,

including the dissemination, via a defense instance of evidence.com, of thousands of files of

Capitol CCTV and Metropolitan Police Department Body Worn Camera videos.



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       The defendant filed the instant Motion on September 27, 2021, and the government hereby

opposes.

                                           ARGUMENT

       The government submits that the legal standard applicable to the defendant’s motion is

codified at 18 U.S.C. § 3142(f), which provides that:

       [A detention] hearing may be reopened, before or after a determination by the
       judicial officer, at any time before trial if the judicial officer finds that information
       exists that was not known to the movant at the time of the hearing and that has a
       material bearing on the issue whether there are conditions of release that will
       reasonably assure the appearance of such person as required and the safety of any
       other person and the community.

18 U.S.C. § 3142(f).2

    Accordingly, the critical question is whether new, material information exists and, if so,

whether it bears on this Court’s consideration of the 18 U.S.C. § 3142(g) factors. The Court has

specifically asked the government to address whether recent case law alters the analysis as to the

defendant’s dangerousness. As detailed below, the defendant has not proffered new facts that

mitigate his dangerousness, while the government has identified additional information that further

supports detention. Moreover, intervening decisions do not change the necessary analysis under

the § 3142(g) factors.




2
  The defendant’s citation to the “exceptional circumstances” standard in 18 U.S.C. § 3145(c) is
inapposite. That statutory provision provides a mechanism for release for defendants who are
“subject to detention pursuant to section 3143(a)(2) or (b)(2) [of Title 18], and who meets the
conditions of release set forth in section 3143(a)(1) or (b)(1).” But 18 U.S.C. §§ 3143(a)(2) and
(b)(2) deal with defendants who have been convicted and are detained pending sentencing or
detained pending appeal, respectively. The defendant fits neither category, and so 18 U.S.C.
§ 3145(c) does not apply to him by its plain text. And the defendant has not provided any authority
for the proposition that it does. Rather, the cases that he cites (see Def.’s Mot. at 4-5 & n.2) deal
with defendants who have already been convicted.
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   A. Additional Facts Support Detention, Not Release

       In his Motion, the defendant asserts several purported changed circumstances indicating

he should be released: first, that his conduct on January 6, 2021, was aberrational, as demonstrated

by his long and decorated service in the military, and, relatedly, that he now realizes the seriousness

of his actions; and second, that incarceration itself is somehow categorically inappropriate for the

defendant, stating that its “conditions are . . . counterproductive,” “particularly for a person like

Mr. McKellop.” Def.’s Mot. at 5–6, 7, 12. None of these arguments is availing.

       As an initial matter, the defendant’s prior military service is not new information “that was

not known to the movant at the time of the hearing,” 18 U.S.C. § 3142(f); on the contrary, both

parties and this Court were well aware of his service during the detention hearings and this Court

took it into account in making its detention decision. Simply reiterating the fact of his service and

providing exhibits of various awards the defendant earned does not constitute new information

that would warrant a new hearing on detention.

       In any event, the defendant’s conduct on January 6, 2021, while shocking given the

defendant’s history of national military service, is not wholly an aberration. For one, the

defendant’s only prior known arrest, in 1986, was for obstructing and resisting a law enforcement

officer. The matter was not charged. Nevertheless, it provides further support for this Court’s

prior finding that the defendant poses a specific and ongoing threat to law enforcement officers.

       Also troubling, the defendant has displayed a short fuse in his appearances before this

Court. For example, on June 14, 2021, before the case was called telephonically, the defendant

indicated he had a lot of questions for his attorney before hanging up the phone. After then

speaking to his attorney separately, still before the case was called, the defendant indicated that he


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was going back to his cell; however, apparently he remained on the line during the hearing. On

July 14, 2021, also before the case was called, the defendant made insulting comments about the

staff at the Department of Corrections and indicated that he needed a different judge and a different

venue for his case. The defendant ultimately left the room in the middle of the hearing. See Min.

Entry, dated July 14, 2021 (“Defendant departed room and was not present for the remainder of

the call.”). This recent conduct should heighten the Court’s concern for the danger the defendant

poses. It reflects a concerning impulsiveness and disregard for social norms, i.e., either an inability

of an unwillingness to conform his behavior to the most basic requirements of society, even when

it is in his interest to do so.

        The defense contends that, both presently and at the time the defendant surrendered on the

arrest warrant, he understood the seriousness of the charges against him. See Def.’s Mot. at 12.

The evidence suggests otherwise. As his initial appearance, the defendant expressed disbelief that

he would have to remain in jail pending an initial detention hearing, and during his detention

hearing, he became so overcome that the matter was adjourned. Coupled with his erratic and

disrespectful more recent behavior in court, this background shows a lack of appreciation for the

seriousness of his conduct on January 6, 2021—let alone remorse.

        The defense also emphasizes that the defendant provided his cell phone to investigators at

the time of his arrest. See Def.’s Mot. at 12, 16. Yet, new evidence suggests that the defendant

destroyed evidence of his crimes contained in the phone beforehand. As mentioned in previous

filings in this case, the FBI issued a Be On the Lookout (“BOLO”) featuring the defendant’s face

and indicating he was wanted for “AFO” (Assault on a Federal Officer). That BOLO was released

on February 5, 2021, and shortly thereafter the defendant identified himself through an attorney as


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the individual in the BOLO. When the arrest warrant was issued, the defendant was instructed to

surrender and D.C. and bring his cell phone with him. The cell phone and a related iCloud account

have since been searched pursuant to warrant. In reviewing the results of the search warrant,

investigators observed there were no photographs, messages, emails, or other information dated

on or related to January 6, 2021, but significant data for dates before January 6, 2021, and on and

after February 7, 2021—just two days after the release of the BOLO featuring the defendant.

Deleting electronic evidence relating to his conduct on January 6, 2021, upon learning of the

BOLO shows the defendant’s consciousness of guilt, as well as his intent to evade the

consequences of his reprehensible criminal conduct.

       The defendant’s Motion suggests that conditions of confinement, including separation

from his family, COVID protocols, and having to wait to use a computer, “particularly for a person

like Mr. McKellop,” warrant his release. Def.’s Mot. at 8. The government is puzzled as to how

this reasoning fits within the § 3142(g) factors but not surprised that the defendant has concluded

his comfort ranks higher than the community’s safety.          With respect to his conditions of

confinement, the defendant’s Motion does not even state a basis for facility transfer, let alone

release.

       The defense has stressed that the defendant’s attacks on police officers took only a few

minutes. See Def.’s Mot. at 9, 11. The government would submit that the time needed for the

defendant to accomplish his violence against law enforcement officers has limited relevance to his

future dangerousness. Moreover, and as noted above, the defendant’s preparation for those events,

apparent deletion of inculpatory information after the fact, and continued defiance at court hearings

shows that his conduct on January 6 was not a momentary lapse.


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       The officers attacked by the defendant will suffer lifelong consequences. Indeed, time has

demonstrated that the officer whom the defendant stabbed in the face will likely have a permanent

scar. An image of the wound shortly after the attack is pictured below (Figure 1).




       For all these reasons, the defendant’s attempt to premise his argument for release on new

facts must fail. To the contrary, additional evidence adds to the weight of the § 3142(g) factors

against release.

   B. Intervening Decisions in other January 6 Cases do not Dictate Releasing Defendant

       In his Motion, the defendant rehashes the § 3142(g) factors and cites to several other

detention decisions involving January 6, 2021, defendants arguing that they favor release. The

government’s prior filings, which have been incorporated by reference here, directly rebut many

of the defendant’s factual assertions and characterizations.     The government turns now to

addressing the relevant case law.

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       As an initial matter, the U.S. Court of Appeals for the D.C. Circuit has emphasized the

individualized nature of each detention decision. See United States v. Munchel, 991 F.3d 1273,

1284 (D.C. Cir. 2021). Accordingly, “[w]hatever potential persuasiveness the government’s

failure to seek detention in another case carries in the abstract, every such decision by the

government is highly dependent on the specific facts and circumstances of each case, which [we]re

not fully before [the Court].” Id.3 This Court has consistently undertaken an individualized

analysis of the defendant’s history, alleged conduct, and the weight of the evidence against him in

making its detention determinations, and the government submits that even contrary detention

decisions in other cases decided by fellow District Courts would have no direct bearing on the

appropriateness of detention here.




3
  In Munchel, appellants had failed to raise an argument about the government’s detention requests
in other cases before its reply brief, and so the Court did not consider it. See id. Nevertheless, the
Court emphasized the individualized nature of such requests.
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       Importantly, the government’s request to detain the defendant pending trial is in line with

its subsequent detention requests. Of the more than 70 people currently detained pending trial in

connection with the January 6, 2021, attack on the U.S. Capitol, over 20 are accused—like the

defendant—of engaging in violent conduct on the Western Front of the Capitol. And many, like

the defendant, have few or no previous contacts with the criminal justice system. See, e.g., United

States v. Brown, 21-mj-565 (ZMF) (ECF No. 14 at 1, 14) (defendant with one expunged high

school conviction and steady employment confronted law enforcement officers and deployed

pepper spray against them) (United States v. Dempsey, 21-cr-566 (RCL) (ECF No. 1-1 at 6-12)

(defendant struck at officers with multiple objects, deployed pepper spray); United States v.

Fairlamb, 21-cr-120 (RCL) (ECF No. 31 at 4-5, 15) (defendant, a trained MMA fighter with two

prior assault convictions, struck officer in the helmet with his bare fist); United States v.

Fitzsimons, 21-cr-158 (RC) (ECF No. 36 at 3-4) (defendant with no prior convictions grabbed at

and shoved several officers, and pulled one officer’s helmet to the side while another r rioter

deployed pepper spray); United States v. Padilla, 21-cr-214 (JDB) (ECF No. 24 at 1-5, 9-15)

(defendant, a military veteran with no prior convictions, posted about the possibility of violence at

the Capitol but came without tactical gear; assaulted several officers, including with makeshift

weapons). The defendant’s history and alleged conduct—a military veteran assaulting multiple

officers, both with his fists and with a flagpole, while equipped with tactical gear, causing

significant harm to several officers and disrupting their ability to manage a violent mob—fall

squarely within the ambit of cases in which courts have agreed with the government’s hold

requests.




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       The cases the defendant cites are not to the contrary. In United States v. Owens, No. 21-

cr-286 (BAH), 2021 U.S. Dist. LEXIS 101157 (D.D.C. May 28, 2021), the district court released

the defendant, a 21-year-old college student with a “spotless criminal record,” dressed in casual

clothes, who was alleged to have struck only one officer and attempted to strike a second officer,

albeit both times with a skateboard. Id. at *22-*23, *31. Moreover, in that case, the government

lacked evidence of causation of injury from Owen’s conduct. Id. at *29-*30. By contrast, the

government presented strong evidence that the defendant caused pain to Officer K.K when he

punched him, and caused the laceration to Officer D.A. when he struck him in the face with the

flagpole. Owens was simply a weaker case for detention compared to the defendant’s.

       Likewise for United States v. Klein, No. 21-cr-236 (JDB), 2021 U.S. Dist. LEXIS 69951

(D.D.C. Apr. 12, 2021). There, the defendant was alleged to have “repeatedly pressed a stolen riot

shield against [officers’] bodies and shields police-issued riot shield he had found.” Id. at *22.

Klein was not alleged to have injured—or even intended to injure—any officer. Id. He was not

dressed in tactical gear. Id at *20. In short, Klein’s assault on law enforcement on January 6 was

less severe than the harms the defendant inflicted on multiple officers and illustrated less planning

or preparation compared to the defendant.

        Moreover, Owens and Klein involved district court review (and revocation) of a magistrate

judge’s detention order, and thus were subject to de novo review. See Klein, 2021 U.S. Dist.

LEXIS 69951, at *8. It is not clear that the same results would have obtained if—as here—the

district courts in those cases had already reviewed the matter and determined detention was

warranted.



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       Foy also does not control here. In Foy, the district court revoked its own detention order,

but only after determining that it had incorrectly employed a statutory presumption in favor of

detention in its first decision. See United States v. Foy, No. 21-cr-00108 (TSC), 2021 U.S. Dist.

LEXIS 123953, at *8 (D.D.C. July 2, 2021). No such legal change is present in this case; rather,

this Court detained the defendant without the use of presumption. And though Foy “thr[ew] a

projectile and aggressively and repeatedly sw[ung] a hockey stick towards law enforcement

officers,” the court did not find that Foy had actually injured any officers, see id. at *3, much less

cause lasting injuries like the defendant did. Even then, the court found that Foy’s military service

and lack of criminal record “just barely” favored release. Id at 10. Defendant’s more serious

conduct tips the balance in favor of detention.




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                                        CONCLUSION

       The defendant moves this Court to revoke its own well considered detention order without

bringing any new material information to the Court’s attention. Instead, the defendant attempts to

rehash the same arguments he brought to the Court in April. But detention was justified then, and

it remains so today; no intervening factual or case-law developments have undermined the Court’s

determination.


       WHEREFORE, the United States respectfully requests that the Court deny the defendant’s

Motion to Revoke Detention Order and for Pretrial Release.


                                             Respectfully submitted,

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